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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DJONIBEK RAHMANKULOV,
                                                                      23-CV-3206 (RA)
                                Movant,
                                                                     20-CR-653-5 (RA)
                        v.
                                                                    MEMORANDUM
 UNITED STATES OF AMERICA,
                                                                   OPINION & ORDER
                                Respondent.

RONNIE ABRAMS, United States District Judge:

       Djonibek Rahmankulov, currently incarcerated at MDC Brooklyn, brings this pro se

motion under 28 U.S.C. § 2255 challenging the legality of his sentence entered in United States v.

Rasulov, et al., No. 20-CR-0653-05 (RA) (S.D.N.Y. Mar. 20, 2023). For the reasons set forth

below, the Court denies the motion.

                                      LEGAL STANDARD

       A prisoner in federal custody may bring a motion under 28 U.S.C. § 2255 attacking his

sentence on the grounds that it violates constitutional or federal law, was imposed without

jurisdiction, exceeds the maximum penalty, or it is otherwise subject to collateral attack. 28 U.S.C.

§ 2255. Under Rule 4(b) of the Rules Governing § 2255 Proceedings, the Court has the authority

to review and deny a Section 2255 motion prior to directing an answer “[i]f it plainly appears from

the motion, any attached exhibits, and the record of prior proceedings that the moving party is not

entitled to relief.” Rules Governing § 2255 Proceedings, Rule 4(b); see also Acosta v. Nunez, 221

F.3d 117, 123 (2d Cir. 2000). The Court is obliged, however, to construe pro se pleadings liberally

and interpret them “to raise the strongest arguments they suggest.” Triestman v. Fed. Bureau of

Prisons, 470 F.3d 471, 474 (2d Cir. 2006) (emphasis in original) (internal quotation marks and

citations omitted); see also Green v. United States, 260 F.3d 78, 83 (2d Cir. 2001). Nevertheless,
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a pro se litigant is not exempt “from compliance with relevant rules of procedural and substantive

law.” Triestman, 470 F.3d at 477 (quoting Traguth v. Zuck, 710 F.2d 90, 95 (2d Cir. 1983)).

                                         BACKGROUND

       On September 1, 2022, a jury convicted Rahmankulov of conspiracy to operate an

unlicensed money transmitting business, conspiracy to commit money laundering, and bank fraud.

On March 20, 2023, the Court sentenced him to 121 months’ imprisonment. See United States v.

Rasulov, et al., ECF 1:20-CR-0653-05, 236. Rahmankulov filed a notice of appeal on April 3,

2023. In the instant filing, he challenges his conviction, alleging ineffective assistance of counsel,

although his appeal remains pending before the U.S. Court of Appeals for the Second Circuit.

                                           DISCUSSION

       The Court declines to address the merits of Rahmankulov’s Section 2255 motion at this

time due to his pending direct appeal. Although “there is no jurisdictional bar to a district court’s

adjudication of a § 2255 motion during the pendency of a direct appeal,” United States v. Outen,

286 F.3d 622, 632 (2d Cir. 2002), “[a]bsent a showing that the habeas application is much more

promising, judicial economy would seem to favor pursuing the direct appeal first,” United States

v. Vilar, 645 F.3d 543, 548 (2d Cir. 2011). As the Second Circuit explained in Vilar:

       [d]irect appeals are generally less time consuming and expensive than habeas application[s]
       because they involve a fixed record and simpler procedures and standards of review.
       Moreover, successful habeas applications often result in new trials, while successful direct
       appeals often do not. And unsuccessful habeas applications often lead to appeals to the
       circuit court, necessitating another round of briefing and judicial consideration.

Id.; see also Carranza v. United States, 794 F.3d 237, 243 (2d Cir. 2015) (“While we generally

prefer that direct appeals conclude before § 2255 proceedings begin, this preference is not

jurisdictional and derives from concerns over judicial economy.”); Outen, 286 F.3d at 632

(observing that “the results on direct appeal may make the district court’s efforts on the § 2255

motion a nullity”). Rahmankulov has a direct appeal pending before the Second Circuit, and the

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Court sees no reason to disrupt the general preference for resolving direct appeals before § 2255

proceedings begin. Rahmankulov may refile this petition, should relief still be necessary, after the

disposition of his direct appeal.

                                         CONCLUSION

         For the foregoing reasons, Rahmankulov’s Section 2255 petition is denied without

prejudice. Because the petition makes no substantial showing of a denial of a constitutional right,

a certificate of appealability will not issue. See 28 U.S.C. § 2253. The Court certifies under 28

U.S.C. § 1915(a)(3) that any appeal from this order would not be taken in good faith, and therefore

in forma pauperis status is denied for the purpose of an appeal. See Coppedge v. United States,

369 U.S. 438, 444–45 (1962).

SO ORDERED.

Dated:    May 8, 2023
          New York, New York

                                                             RONNIE ABRAMS
                                                          United States District Judge




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